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                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                          CRIMINAL 14-0429-1CCC
 1) EZEQUIEL CABRERA-AGOSTO
 2) ANTHONY SANABRIA-MOJICA
 Defendants


                                     ORDER

      Having considered the Report and Recommendation filed on March 5,
2015 (docket entry 35) on a Rule 11 proceeding of defendant [1] Ezequiel
Cabrera-Agosto before U.S. Magistrate-Judge Marcos E. López on March 2,
2015, to which no objection has been filed, the same is APPROVED.
Accordingly, the plea of guilty of defendant is accepted. The Court FINDS that
his plea was voluntary and intelligently entered with awareness of his rights
and the consequences of pleading guilty and contains all elements of the
offense charged in the indictment.
      This case was referred to the U.S. Probation Office for preparation of a
Presentence Investigation Report since March 2, 2015. The sentencing
hearing is set for June 3, 2015 at 4:15 PM.
      The U.S. Probation Officer is reminded that, should any objections be
raised by defendant to the PreSentence Report, the Addendum to said
PreSentence Report must specifically identify any unresolved objections, the
grounds for the objections, and the U.S. Probation Officer’s comments on
them, as required by Fed. R. Crim. P. 32(g). The party that raised the
unresolved objections shall, within twenty-four (24) hours after the
Addendum is disclosed, state in writing whether it will insist that the unresolved
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objections be ruled upon by the Court. Failure to do so will be deemed by the
Court as a withdrawal of the unresolved objections.
     SO ORDERED.
     At San Juan, Puerto Rico, on March 23, 2015.



                                   S/CARMEN CONSUELO CEREZO
                                   United States District Judge
